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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA
__________________________________________
                                           ) MDL No. 2179
In re: OIL SPILL by the OIL RIG           )
       “DEEPWATER HORIZON” in the          )
       GULF OF MEXICO, on April 20, 2010   ) Section “J”
                                           )
This Document Relates to:                  ) Judge Barbier
Civil No. 2:10-cv-01497                    ) Magistrate Judge Shushan
__________________________________________)


                                  [PROPOSED] ORDER

      The Court having reviewed the motion of Chevron U.S.A., Inc. to intervene as defendant

in this matter, it is HEREBY ORDERED:

      1.     that the Motion is GRANTED;

      2.    that Chevron’s Answer to Plaintiff’s Complaint be deemed filed on the date on

            which this order is entered.

                                           __________________________________
                                           UNITED STATES DISTRICT JUDGE
